      Case 3:05-cr-00118-RV-MD        Document 126       Filed 04/01/08    Page 1 of 9



                                                                                    Page 1 of 9


                IN THE UNITED STATES DISTRICT COURT FOR THE
                        NORTHERN DISTRICT OF FLORIDA
                             PENSACOLA DIVISION


UNITED STATES OF AMERICA

vs.                                                      3:05cr118/RV
                                                         3:07cv384/RV/MD

JAMES OLIVER FAMBRO


                          REPORT AND RECOMMENDATION

       This matter is before the court upon a motion to vacate, set aside, or correct
sentence pursuant to 28 U.S.C. §2255 (doc. 112). The government has filed a response
(doc. 118) and the defendant has filed a reply. (doc. 120). The matter is referred to the
undersigned magistrate judge for report and recommendation pursuant to 28 U.S.C. § 636
and N.D. Fla. Loc. R. 72.2(B). After a careful review of the record and the arguments
presented, it is the opinion of the undersigned that defendant has not raised any issue
requiring an evidentiary hearing, Rules Governing Section 2255 Cases 8(a) and (b), and
that the motion should be denied.


I. BACKGROUND
       Defendants James Oliver Fambro and William Henry Dudley were named in a five
count indictment. Fambro was charged with conspiracy to distribute and possess with
intent to distribute more than fifty grams of cocaine base (count one), possession with
intent to distribute fifty grams or more of cocaine base on a date certain (count two), being
a felon in possession of a firearm (count four), and using a weapon during and in relation
to a drug trafficking crime (count five). Dudley was charged with conspiracy to distribute
and possess with intent to distribute more than fifty grams of cocaine base (count one),
      Case 3:05-cr-00118-RV-MD           Document 126   Filed 04/01/08    Page 2 of 9



                                                                                   Page 2 of 9


possession with intent to distribute fifty grams or more of cocaine base on a date certain
(count two), being a felon in possession of a firearm (count three). (Doc. 24). The
government filed an enhancement information indicating its intent to seek enhanced
penalties due to defendant’s prior felony drug offense. (Doc. 26).
        Fambro, through appointed counsel Kafahni Nkrumah, entered a plea of guilty
pursuant to a written plea and cooperation agreement. (Doc. 41). The plea proceeding
was thorough, but unremarkable. (Doc. 77).
        The PSR established defendant’s base offense level at 36, based on a marijuana
equivalency of 11,347.74 kilograms, based on the defendant’s distribution of multiple
substances. (PSR ¶ 30). He did not receive a two level adjustment for possession of a
firearm during the course of the conspiracy because he had been separately charged on
this offense.       He received a three level downward adjustment for acceptance of
responsibility, for a total offense level of 33. (PSR ¶¶ 36 & 39). Defendant’s criminal
history category was I. (PSR ¶ 45). The advisory guidelines imprisonment range was 135
to 168 months, but this was ultimately trumped by the statutory mandatory minimums, as
set forth below.
        At sentencing, counsel withdrew the objection to the quantity of drugs attributed to
the defendant, in hopes that his client could continue to cooperate with the government
and receive a Rule 35 motion. (Doc. 78 at 3, 5-6). Counsel expressed to the court that he
believed the sentence his client faced was excessive, a sentiment with which the court
agreed. (Doc. 78 at 5). The court was nonetheless constrained by the statutory minimum
mandatory because of defendant’s single conviction for possession of cocaine fifteen years
earlier, and sentenced him to a term of 240 months imprisonment on counts one and two,
a concurrent term of 120 months imprisonment on count four, and a consecutive 60 month
term of imprisonment on count five. (Doc. 78). Counsel filed an Anders brief on appeal,
and following an independent review of the record by the Eleventh Circuit, his conviction
and sentence were affirmed on September 27, 2006. (Doc. 105).




Case No: 3:05cr118/RV; 3:07cv384/RV/MD
      Case 3:05-cr-00118-RV-MD                Document 126            Filed 04/01/08        Page 3 of 9



                                                                                                       Page 3 of 9


        In the present motion,1 defendant asks that his § 2255 motion be held in abeyance
as he has moved to have his underlying state conviction vacated. Next he contends that
counsel induced him to plead guilty to conduct that was not a crime, because active
employment of the firearm was required for conviction under § 924(c)(1). Finally, he
contends his plea was not knowing and voluntary.


II. LEGAL ANALYSIS
        Because collateral review is not a substitute for direct appeal, the grounds for
collateral attack on final judgments pursuant to § 2255 are extremely limited. A prisoner
is entitled to relief under section 2255 if the court imposed a sentence that (1) violated the
Constitution or laws of the United States, (2) exceeded its jurisdiction, (3) exceeded the
maximum authorized by law or (4) is otherwise subject to collateral attack. 28 U.S.C. §
2255; Thomas v. Crosby, 371 F.3d 782, 811 (11th Cir. 2004); United States v. Phillips, 225
F.3d 1198, 1199 (11th Cir. 2000); United States v. Walker, 198 F.3d 811, 813 n.5 (11th Cir.
1999). “Relief under 28 U.S.C. § 2255 ‘is reserved for transgressions of constitutional
rights and for that narrow compass of other injury that could not have been raised in direct
appeal and would, if condoned, result in a complete miscarriage of justice.’” Lynn v. United
States, 365 F.3d 1225, 1232 (11th Cir. 2004) (citations omitted). “[A] non-constitutional
error that may justify reversal on direct appeal does not generally support a collateral
attack on a final judgment, unless the error (1) could not have been raised on direct appeal
and (2) would, if condoned, result in a complete miscarriage of justice.” Lynn, 365 F.3d at
1232-33 (citations omitted); Hill v. United States, 368 U.S. 424, 428, 82 S.Ct. 468, 7
L.Ed.2d 417 (1962) (error of law does not provide basis for collateral attack unless claimed
error constituted a “fundamental defect which inherently results in a complete miscarriage
of justice.”). The “fundamental miscarriage of justice” exception recognized in Murray v.
Carrier, 477 U.S. 478, 496, 106 S. Ct. 2678, 2649, 91 L. Ed. 2d 397 (1986), provides that



        1
          The defendant’s c laim s as set forth in the mo tion and the m em orandum differ. The court will address
the claim s as set forth in the defendant’s m em orandum , as they have been explained in gre ate r de tail.

Case No: 3:05cr118/RV; 3:07cv384/RV/MD
      Case 3:05-cr-00118-RV-MD           Document 126     Filed 04/01/08     Page 4 of 9



                                                                                      Page 4 of 9


it must be shown that the alleged constitutional violation “has probably resulted in the
conviction of one who is actually innocent. . . .”
        Although section 2255 mandates that the court conduct an evidentiary hearing
“unless the motion and files and records conclusively show that the prisoner is entitled to
no relief,” a defendant must support his allegations with at least a proffer of some credible
supporting evidence. See Chandler v. McDonough, 471 F.3d 1360 (11th Cir. 2006) (citing
Drew v. Dept. of Corrections, 297 F.3d 1278, 1293 (11th Cir. 2002) (referring to “our clear
precedent establishing that such allegations are not enough to warrant an evidentiary
hearing in the absence of any specific factual proffer or evidentiary support”); Hill v. Moore,
175 F.3d 915, 922 (11th Cir. 1999) (“To be entitled to an evidentiary hearing on this matter
[an ineffective assistance of counsel claim], petitioner must proffer evidence that, if true,
would entitle him to relief.”); Ferguson v. United States, 699 F.2d 1071, 1072 (11th Cir.
1983). A hearing is not required on frivolous claims, conclusory allegations unsupported
by specifics, or contentions that are wholly unsupported by the record. Peoples v.
Campbell, 377 F.3d 1208, 1237 (11th Cir. 2004); Tejada v. Dugger, 941 F.2d 1551, 1559
(11th Cir. 1991); Holmes v. United States, 876 F.2d 1545, 1553 (11th Cir. 1989) (citations
omitted). Likewise, affidavits that amount to nothing more than conclusory allegations do
not warrant a hearing. Lynn, 365 F.3d at 1239. An evidentiary hearing is not warranted
in this case.


        Request for § 2255 to be held in abeyance
        Defendant first requests that this court hold his motion in abeyance pending the
state court’s decision on his writ of habeas corpus challenging his single prior state court
conviction that led to the enhanced sentence.
        Pursuant to 21 U.S.C. §§ 851(b) and (e), the defendant may not now or in the future
attack the validity of his prior felony drug conviction because he failed to do so at
sentencing and because his conviction was in excess of five years old at the time the
enhancement information was filed in this case. Section 851(b) provides that:



Case No: 3:05cr118/RV; 3:07cv384/RV/MD
      Case 3:05-cr-00118-RV-MD           Document 126     Filed 04/01/08     Page 5 of 9



                                                                                      Page 5 of 9


        If the United States attorney files an information under this section, the court
        shall after conviction but before pronouncement of sentence inquire of the
        person with respect to whom the information was filed whether he affirms or
        denies that he has been previously convicted as alleged in the information,
        and shall inform him that any challenge to a prior conviction which is not
        made before sentence is imposed may not thereafter be raised to attack the
        sentence.

The District Court adhered to these requirements, and the defendant affirmed his
conviction. (Doc. 75 at 4). Thus, having failed to preserve his objection at sentencing,
defendant may not attack his sentence based upon the prior state conviction.
        Additionally, section 851(e) provides:
        No person who stands convicted of an offense under this part may challenge
        the validity of any prior conviction alleged under this section which occurred
        more than five years before the date of the information alleging such prior
        conviction.

The defendant’s prior felony conviction was well over fourteen years old when the
government filed the enhancement information. (Doc. 26). Clearly then, the statute
precludes him from challenging the validity of this prior conviction. Likewise, the case law
cited by the defendant does not support his request for an indefinite abeyance.


        Ineffective assistance of counsel/Voluntariness of Plea
        Ineffective assistance of counsel claims are generally not cognizable on direct
appeal and are properly raised by a § 2255 motion regardless of whether they could have
been brought on direct appeal. Massaro v. United States, 538 U.S. 500, 503, 123 S.Ct.
1690, 1693, 155 L.Ed.2d 714 (2003); see also United States v. Bender, 290 F.3d 1279,
1284 (11th Cir. 2002); United States v. Jiminez, 983 F.2d 1020, 1022, n. 1 (11th Cir. 1993).
To show a violation of his constitutional right to counsel, defendant must demonstrate both
that counsel’s performance was below an objective and reasonable professional norm and
that he was prejudiced by this inadequacy. Strickland v. Washington, 466 U.S. 668, 686,
104 S.Ct. 2052, 2064, 80 L.Ed.2d (1984); Williams v. Taylor, 529 U.S. 362, 390, 120 S.Ct.
1495, 1511, 146 L.Ed.2d 389 (2000); Gaskin v. Secretary, Dept. of Corrections, 494 F.3d

Case No: 3:05cr118/RV; 3:07cv384/RV/MD
      Case 3:05-cr-00118-RV-MD           Document 126       Filed 04/01/08   Page 6 of 9



                                                                                     Page 6 of 9


997, 1002 (11th Cir. 2007). “Strickland’s two-part test also applies where a prisoner
contends ineffective assistance led him or her to enter an improvident guilty plea.” Yordan
v. Dugger, 909 F.2d 474, 477 (11th Cir. 1990) (citing Hill v. Lockhart, 474 U.S. 52, 106
S.Ct. 366, 88 L.Ed.2d 203 (1985)). In applying Strickland, the court may dispose of an
ineffective assistance claim if defendant fails to carry his burden on either of the two
prongs. 466 U.S. at 697, 104 S.Ct. at 2069.
        Defendant claims that counsel’s performance was constitutionally ineffective
because he induced his client to plead guilty to conduct that is not a crime. In conjunction
with this, defendant further contends that his plea was not knowing and voluntary because
of counsel’s alleged misadvice that the presence of a firearm in his motel room was
sufficient to support a conviction for a violation of § 924(c)(1)(A). Defendant maintains that
“active employment” of the firearm is required in order to sustain a conviction under 18
U.S.C. § 924(c)(1). Bailey v. United States, 516 U.S. 137, 116 S.Ct. 501, 133 L.Ed.2d 472
(1995). Defendant’s assertion is without merit.
        The indictment charged that defendant “did knowingly use and carry, and in
furtherance of [a drug trafficking crime], did knowingly possess a firearm.” (Doc. 24 at 4)
(emphasis added). Defendant now claims that he neither used nor carried the firearm in
relation to the predicate offense, an assertion that he maintains is proven by the fact that
the firearm seized from the motel room was not in his vicinity. However, the record reflects
that his admission went well beyond the mere presence of the weapon in the motel room.
        At the plea colloquy the court stated as follows:
                 Finally, Count Five charges you, Mr. Fambro, with during and in
                 relation to a drug trafficking crime for which you might be prosecuted
                 in the federal court, that is the conspiracy charged in Count One and
                 the possession with intent to distribute charged in Count Two, that
                 you did knowingly use and carry, and in furtherance of such crime did
                 knowingly possess a 9mm Ruger pistol in violation of Title 18, United
                 States Code, Section 924(c)(1)(A).

                 And to establish this offense the government has to prove that you did
                 commit the offense as charged in Count One or Count Two of the
                 indictment, and during the commission of that offense that you did
                 knowingly carry or possess a firearm. And finally that you either

Case No: 3:05cr118/RV; 3:07cv384/RV/MD
      Case 3:05-cr-00118-RV-MD           Document 126     Filed 04/01/08    Page 7 of 9



                                                                                     Page 7 of 9


                 carried the firearm in relation to, or your possession – you possessed
                 the firearm in furtherance of the drug trafficking offense. And again
                 it may be actual or constructive possession, joint or sole possession.
                 Do you understand that?

(Doc. 77 at 17).        Defendant answered in the affirmative. As part of the government’s
factual statement, describing the search of the defendants’ motel room and Mr. Fambro’s
post-Miranda statement, it recited the following:
                 Mr. Fambro claimed the gun and said that he had brought the gun to
                 Pensacola, that it was his gun, and it was brought down for protection
                 purposes because the week before when they had been here there
                 was a drug dealer or someone had been robbed in the parking lot of
                 this same hotel. On the morning that the warrant was served, Mr.
                 Fambro explained that he had called back to the hotel room and had
                 spoken with Mr. Dudley and asked Mr. Dudley to move the firearm so
                 that the maid service would not fire–find the firearm. Mr. Dudley had
                 agreed and he placed it on the bedside table which it was located.

(Doc. 77 at 19-20). The defendant agreed with the statement of facts as set forth by the
government, stated that he did not disagree with anything that the government had said
and admitted that he had done what he was charged with in the indictment. (Doc. 77 at
20). A defendant’s statements during a Rule 11 colloquy as well as any findings made by
the judge accepting the pleas constitute a formidable barrier in any subsequent collateral
proceedings. Blackledge v. Allison, 431 U.S. 63, 73-74, 97 S.Ct. 1621, 1629, 52 L.Ed.2d
136 (1977); cf. Holmes v. United States, 876 F.2d 1545, 1550 (11th Cir. 1989) (trial court
satisfied itself during Rule 11 colloquy of voluntary and understanding nature of plea).
Solemn declarations made under oath in open court carry a strong presumption of verity.
Blackledge, 431 U.S. at 73-74, 97 S.Ct. at 1629; United States v. Medlock, 12 F.3d 185,
187 (11th Cir. 1994). They are presumptively trustworthy and are considered conclusive
absent compelling evidence showing otherwise. Blackledge, 431 U.S. at 73-74, 97 S.Ct.
at 1629; see also United States v. Gonzalez-Mercado, 808 F.2d 796, 800 n.8 (11th Cir.
1987). Defendant has failed to provide such “compelling evidence showing otherwise.”
Clearly, having admitted that he and his co-defendant transported the weapon from
Atlanta, Georgia to Pensacola, Florida for protection while also transporting crack cocaine

Case No: 3:05cr118/RV; 3:07cv384/RV/MD
      Case 3:05-cr-00118-RV-MD           Document 126     Filed 04/01/08     Page 8 of 9



                                                                                      Page 8 of 9


for distribution in the Pensacola area, defendant had admitted sufficient facts to support
his conviction of carrying a weapon in furtherance of a drug trafficking crime. See
Muscarello v. United States, 524 U.S. 125, 128, 118 S.Ct. 1911, 1914, 141 L.Ed.2d 111
(1998); United States v. Timmons,283 F.3d 1246, 1250 (11th Cir. 2002); United States v.
Range, 94 F.3d 614, 617 (11th Cir. 1996); Tannenbaum v. United States, 148 F.3d 1262
(11th Cir. 1998). Active employment is not required.
        To the extent the defendant claims the government has failed to meet its burden
under the indictment, his argument also fails. “Where the language of a statute proscribes
several means by which the defendant might have committed a violation, the government
may plead the offense conjunctively and satisfy its burden of proof by any of the means.”
United States v. Cornillie, 92 F.3d 1108, 1110 (11th Cir. 1996) (United States v. Burton, 871
F.2d 1566, 1573 (11th Cir. 1989)); United States v. Still, 102 F.3d 118, 124, (5 th Cir. 1996)
(applying same rationale in context of § 924(c) conviction by guilty plea) (citations omitted);
see also United States v. Dickey, 102 F.3d 157, 164, n. 8 (5th Cir. 1996) (citation omitted,
applying same rationale to indictment for violation of 924(c), which was pleaded in the
conjunctive while the statute and jury charge were in the disjunctive). That is, even if the
defendant is charged with using and carrying a firearm, or in this case using and carrying
and possessing, the government need only prove one means of violating the statute to
sustain a conviction. Still, 102 F.3d at 124. The government met its burden in this case.
Defendant thus has not shown that counsel was ineffective or that his plea was
“involuntary,” and is not entitled to relief.
        Based on the foregoing, it is respectfully RECOMMENDED:
        The motion to vacate, set aside, or correct sentence (doc. 112) be DENIED.
        At Pensacola, Florida, this 1 st day of April, 2008.

                                          /s/   Miles Davis
                                                MILES DAVIS
                                                UNITED STATES MAGISTRATE JUDGE




Case No: 3:05cr118/RV; 3:07cv384/RV/MD
      Case 3:05-cr-00118-RV-MD               Document 126    Filed 04/01/08      Page 9 of 9



                                                                                           Page 9 of 9


                                         NOTICE TO THE PARTIES

Any objections to these proposed findings and recommendations must be filed within ten days after
being served a copy thereof. Any different deadline that may appear on the electronic docket is
for the court’s internal use only, and does not control. A copy of objections shall be served upon
all other parties. Failure to object may limit the scope of appellate review of factual findings. See
28 U.S.C. § 636; United States v. Roberts, 858 F.2d 698, 701 (11th Cir. 1988).




Case No: 3:05cr118/RV; 3:07cv384/RV/MD
